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                                  STATEMENT OF FACTS

        Your affiant,              , is a Special Agent with the Federal Bureau of Investigation
(“FBI”) assigned to the Houston Field Office. In my duties as a special agent, I investigate
domestic terrorism and related criminal offenses. Currently, I am tasked with investigating
criminal activity in and around the Capitol grounds on January 6, 2021. As a special agent, I am
authorized by law or by a Government agency to engage in or supervise the prevention, detection,
investigation, or prosecution of a violation of Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in the United States Capitol to certify the vote count of the Electoral College of the 2020
Presidential Election, which had taken place on November 3, 2020. The joint session began at
approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the House and Senate
adjourned to separate chambers to resolve a particular objection. Vice President Mike Pence was
present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

       At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, around
2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session


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of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

                                   Identification of Judy Fraize

       According to records obtained through a search warrant served on Google, a mobile device
associated with XXXXXX@gmail.com was present at the U.S. Capitol on January 6, 2021.
Records provided by Google revealed that the mobile device associated with
XXXXXX@gmail.com belonged to a Google account registered in the name of “Judy Fraize.”
The Google account also lists a recovery SMS phone number that matches XXX-XXX-XXXX,
which public records show as being associated with JUDY FRAIZE. 1

        On July 6, 2021, special agents with the FBI interviewed FRAIZE at her residence. During
the interview, FRAIZE admitted that she entered the U.S. Capitol building on January 6, 2021.
FRAIZE told agents that she had travelled from Dallas to Washington, D.C. as part of a convoy to
attend a rally for the former President. FRAIZE provided the interviewing agents with a video that
she had taken inside of the U.S. Capitol and a picture of herself taken at the rally on January 6,
2021. In the photo from January 6, 2021, FRAIZE is wearing a red “Make America Great Again”
baseball-style hat, a blue sweater, and a tan jacket.




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  The unredacted phone number and email address associated with FRAIZE are known to your
affiant.
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                               Offenses Committed by Judy Fraize

         Based on the foregoing, your affiant submits that there is probable cause to believe that
JUDY FRAIZE violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1) knowingly
enter or remain in any restricted building or grounds without lawful authority to do so; and (2)
knowingly, and with intent to impede or disrupt the orderly conduct of Government business or
official functions, engage in disorderly or disruptive conduct in, or within such proximity to, any
restricted building or grounds when, or so that, such conduct, in fact, impedes or disrupts the
orderly conduct of Government business or official functions; or attempts or conspires to do so.
For purposes of Section 1752 of Title 18, a “restricted building” includes a posted, cordoned off,
or otherwise restricted area of a building or grounds where the President or other person protected
by the Secret Service, including the Vice President, is or will be temporarily visiting; or any
building or grounds so restricted in conjunction with an event designated as a special event of
national significance.

        Your affiant submits there is also probable cause to believe that JUDY FRAIZE violated
40 U.S.C. § 5104(e)(2)(D) & (G), which makes it a crime to willfully and knowingly (D) utter
loud, threatening, or abusive language, or engage in disorderly or disruptive conduct, at any place
in the Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or disturb the
orderly conduct of a session of Congress or either House of Congress, or the orderly conduct in
that building of a hearing before, or any deliberations of, a committee of Congress or either House
of Congress; and (G) parade, demonstrate, or picket in any of the Capitol Buildings.




                                                     Special Agent
                                                     Federal Bureau of Investigation


Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 29th day of January 2024.


                                                     ___________________________________
                                                     HONORABLE G. MICHAEL HARVEY
                                                     U.S. MAGISTRATE JUDGE




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